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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

WOOD M. DEMING, M.D., REGIONAL
CARDIOLOGY CONSULTANTS, P.C.,
Plaintiffs,

VS. NO. 05-1032-T

 

JACKSON-MADISON COUNTY GENERAL
HOSPITAL DISTRICT; et al.,

Defendants.

ORDER OF REFERENCE

 

Plaintiffs’ Rule 56(f) Motion to Postpone Ruling on Defendants’ Motion to Dismiss
and/or for Surnmary Judgment and to Allow Plaintiffs to Conduct Discovery and
Aceompanying Statement Regarding Consultation are hereby referred to United States

Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

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JAM D. TODD
UNI D STATES DISTRICT JUDGE

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DATE

Thls document entered on the docket sheet In compliance
with Flule 58 and,'or_?Q (a) FRCP on

 

Notice of Distribution

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Honorable J ames Todd
US DISTRICT COURT

